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                           UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

IN RE:                                                )
                                                      )      Chapter 11
KAREN M. FOSTER,                                      )
                                                      )      Case No. 12-60619
         Debtor.                                      )

    MOTION TO DISMISS CASE AND PROHIBIT THE DEBTOR FROM FILING A NEW
                      BANKRUPTCY CASE FOR 180 DAYS

         W. Clarkson McDow, Jr., United States Trustee for Region Four (the “United States

Trustee”), by counsel, moves the Court pursuant to §§ 105, 109, and 1112(b)(1) of title 11 of the

United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”), for the entry of an order

dismissing the Debtor’s case and barring the Debtor from filing a new petition for relief under

the Bankruptcy Code for 180 days.        In support of this motion, the United States Trustee

respectfully states as follows:

                                     Jurisdiction and Venue

         1.    Jurisdiction is proper pursuant to 28 U.S.C. §§ 157 and 1334. The statutory

predicates for this motion are §§ 105, 109, 307, and 1112 of the Bankruptcy Code.

         2.    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.    This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                           Background

         4.    The Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy

Code on March 15, 2012.

         5.    The Debtor attended an initial debtor interview on March 28, 2012.               A

representative of the United States Trustee met with the Debtor and explained to her, among

other things, the requirements to file monthly operating reports and pay quarterly fees.

                                                 1 
 
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        6.      Since October 25, 2001, the Debtor has filed 4 bankruptcy cases that have been

dismissed without the Debtor receiving a discharge. The Dockets for cases 02-04312, 03-00348,

03-03854, and 12-60080 are incorporated by reference.

        7.      In connection with the dismissal of case number 03-03854, the Debtor was barred

from filing a new bankruptcy case for 180 days.

        8.      The Debtor received a chapter 7 discharge on January 18, 2008, in connection

with case number 07-61731.

        9.      Prior to the filing of this case, a creditor conducted a foreclosure sale of 2232

Ridgewood Drive, Lynchburg, Virginia 24503.

        10.     Prior to the filing of this case, the Debtor was involved in eviction proceedings.

Upon information and belief, the court ruled against the Debtor and the Debtor filed this case

before the entry of the order memorializing the court’s decision.

        11.     Upon information and belief, the Debtor was residing and working in North

Carolina on the petition date.

        12.     Upon information and belief, the creditor that foreclosed on 2232 Ridgewood

Drive, Lynchburg, Virginia has obtained possession of the house.

        13.     Upon information and belief, the Debtor filed this case to stop the eviction

proceedings relating to 2232 Ridgewood Drive, Lynchburg, Virginia.

        14.     On March 6, 2012, the Court entered a Debtor-In-Possession Order in this case

that, among other things, requires the Debtor to “follow all guidelines, regulations and directives

of the Office of the United States Trustee pertaining to Chapter 11 cases including, but not

limited to, payment of the required quarterly fees.” The Debtor-In-Possession Order is attached

as Exhibit 1.



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        15.     Quarterly fees are due on the last day of the month following the calendar quarter.

        16.     The Debtor has not paid the quarterly fees for the 1st and 2d quarters of 2012 and

she currently owes not less than $650.54 in quarterly fees.

        17.     The Debtor is required to file monthly operating reports “by the 15th day of each

succeeding month and are to cover the preceding calendar month.” A copy of the written

guidelines provided to the Debtor are attached as Exhibit 2.

        18.     On June 27, 2012, the Debtor filed operating reports for March 2012 through May

2012; the Debtor has not timely filed an operating report for June 2012.

        19.     The Debtor did not attach the bank statements to the reports as required.

        20.     The Debtor has not filed an application to employ counsel.

        21.     According to the Rule 2016 disclosure filed by Debtor’s counsel, he is billing the

Debtor $250.00 an hour.

        22.     The reports show that the Debtor has paid $3,879.00 to her counsel without

permission of this Court.

        23.     According to the May 2012 report, the Debtor has incurred $18,500.00 in unpaid

debts since the filing of this case.

        24.     According to the reports filed, the Debtor’s total income received between March

1, 2012, and May 31, 2012, has been $4,610.11.

        25.     Upon information and belief, the Debtor failed to schedule certain income being

received from Leland and Stephanie Robertson and her ownership of a Mitsubishi Diamante.

        26.     The Debtor has not amended her schedules to correct the deficiencies discussed at

the creditors’ meeting held on May 3, 2012.




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              27.            The Debtor did not upload a complete list of creditors with the filing of the

petition.1 Thereafter, the Debtor has failed to file a notice of amendment to creditors’ matrix.2

                                                                     Basis for Relief

              28.            The Court may enter any order necessary or appropriate to carry out the

provisions of the Bankruptcy Code. 11 U.S.C. § 105(a).

              29.            The Bankruptcy Code states that “no individual or family farmer may be a debtor

under this title who has been a debtor in a case pending under this title at any time in the

preceding 180 days if- (1) the case was dismissed by the court for willful failure of the debtor to

abide by orders of the court. . . .” 11 U.S.C. § 109(g).

              30.            The United States Trustee may raise and be heard on any issue. 11 U.S.C. § 307.

              31.            Section 1112(b) of the Bankruptcy Code, in part, states:

                              (1) Except as provided in paragraph (2) and subsection (c), on request of a party
                             in interest, and after notice and a hearing, the court shall convert a case under this
                             chapter to a case under chapter 7 or dismiss a case under this chapter, whichever
                             is in the best interests of creditors and the estate, for cause unless the court
                             determines that the appointment under section 1104(a) of a trustee or an examiner
                             is in the best interests of creditors and the estate.
                             (2) The court may not convert a case under this chapter to a case under chapter 7
                             or dismiss a case under this chapter if the court finds and specifically identifies
                             unusual circumstances establishing that converting or dismissing the case is not in
                             the best interests of creditors and the estate, and the debtor or any other party in
                             interest establishes that--
                                  (A) there is a reasonable likelihood that a plan will be confirmed within the
                             timeframes established in sections 1121(e) and 1129(e) of this title, or if such
                             sections do not apply, within a reasonable period of time; and
                                  (B) the grounds for converting or dismissing the case include an act or
                             omission of the debtor other than under paragraph (4)(A)--
                                    (i) for which there exists a reasonable justification for the act or omission;
                             and
                                    (ii) that will be cured within a reasonable period of time fixed by the court.


                                                            
1
  Compare the certificate of service for the mailing of the notice of the creditors’ meeting [Docket No. 15] with the
creditors listed on the Schedules D-H [Docket No. 19].
2
  Thus, it appears certain creditors may have been denied notice of this case and the proceedings in this case.

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              11 U.S.C. § 1112(b)(1), (2). Cause includes, but is not limited to: “substantial or

continuing loss to or diminution of the estate and the absence of a reasonable likelihood of

rehabilitation;” “gross mismanagement of the estate;” “failure to comply with an order of the

court;” “unexcused failure to satisfy timely any filing or reporting requirements,” and “failure

timely to provide information or attend meetings reasonably requested by the United States

trustee (or the bankruptcy administrator, if any).”                             11 U.S.C. § 1112(4)(A), (B), (E), (F), and

(H).


              32.            The Bankruptcy for the District of Delaware described the Court=s discretion in

finding cause to grant a motion to convert or dismiss as follows:


                             Courts have wide latitude in determining whether cause exists to convert or
                             dismiss. The section provides ten enumerated examples which constitute
                             statutory cause. However the court is not limited to the statutory examples and
                             cause may be determined from the facts and circumstances of the case.

In the Matter of Nugelt, Inc., 142 B.R. 661, 665 (Bankr. D. Del. 1992) (citations omitted).


              33.            Congress intended BAPCPA’s3 changes to Section 1112(b) to “make it broader,

more strict as to debtors, and more encompassing.” See In re TCR of Denver, LLC, 338 B.R.

494, 500 (Bankr..D.Colo., 2006).

              34.            Cause exists to dismiss the Debtor’s case and to prohibit her from filing a new

petition for relief under the Bankruptcy Code for 180 days.

              35.            The Debtor appears to be suffering from continuing financial losses evidenced by

increasing administrative claims and other post-petition debts.

              36.            In addition, it does not appear the Debtor has a reasonable likelihood of

rehabilitation.
                                                            
3
     Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L. 109-8.

                                                                           5 
 
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        37.    In showing a reasonable likelihood for rehabilitation, “Courts usually require the

debtor do more than manifest unsubstantiated hopes for a successful reorganization.” In re Canal

Place Ltd. P’ship, 921 F.2d 569, 577 (5th Cir.1991); In re Brown, 951 Fed.2d 564, 572 (3d Cir.

1991). In this case, the Debtor’s hopes to reorganize appear to center around the success of

certain litigation. The Debtor’s hopes at rehabilitating appear speculative.

        38.    The Debtor has not filed a disclosure statement or plan, and the case has been

pending for more than 120 days.

        39.    The Debtor appears to be grossly mismanaging the estate by, among other things:

(i) failing to seek to employ counsel; (ii) failing to amend inaccurate schedules; (iii) making

payments to counsel without Court approval; (iv) failing to timely file monthly operating reports;

(v) failing to aggressively prosecute this case by filing a disclosure statement and plan; and (vi)

incurring unpaid post-petition debts.

        40.    The Debtor has failed to comply with the Debtor-In-Possession Order.

        41.    The Debtor has failed to comply timely with filing and reporting requirements

such as Fed. R. Bankr. P. 1007(a)(1) and Local Rule 1009-1.

        42.    The Debtor has failed to timely file certain required monthly operating reports.

        43.    The Debtor has failed to pay required fees.

        44.    The Debtor is not eligible for a discharge. 11 U.S.C. § 1141(d)(3)(C).

        WHEREFORE, the United States Trustee, by counsel, moves the Court for the entry of

an Order dismissing the Debtor’s case and prohibiting her from filing a new petition for relief

under the Bankruptcy Code for 180 days.




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Date: July 19, 2012                           Respectfully submitted,

                                              W. Clarkson McDow, Jr., United States Trustee
                                              for Region Four

                                              By: /s/ W. Joel Charboneau

Office of The United States Trustee
210 First Street, Suite 505
Roanoke, Virginia 24011
540-857-2699
joel.charboneau@usdoj.gov

                                      NOTICE OF HEARING

        Please take notice that a hearing will be held on August 9, at 10:30 a.m. in the United
States Bankruptcy Court located in Lynchburg, Virginia.


                                  CERTIFICATE OF SERVICE

        I certify that on July 19, 2012, I electronically filed the foregoing with the United States
Bankruptcy Court for the Western District of Virginia and I caused copies to be mailed to the
entities on the attached Service List.

                                              /s/ W. Joel Charboneau




                                                 7 
 
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                                     SERVICE LIST

Santander Consumer USA                          Centra Health
P.O. Box 560284                                 PO Box 2495
Dallas, TX 75356-0284                           Lynchburg, VA 24505

Commonwealth of Virginia                        Central Va. Family Physicians
Court Debt Collections                          PO Box 2489
P.O. Box 2156                                   Forest, VA 24551
Richmond, VA 23218
                                                City of Lynchburg Water/Sewer
Homer Foster                                    PO Box 9000
3842 NW Highway 25/70                           Lynchburg, VA 24503
Hot Springs, NC 28742
                                                Columbia Gas
Jamie Ridgeway                                  PO Box 745289
34 Cynthia Court                                Cincinnati, OH 45274
Lynchburg, VA 24501
                                                Comcast
Jim Hodges                                      8029 Corporate Drive
2232 Ridgewood Drive                            Nottingham, MD 21236
Lynchburg, VA 24592
                                                First National Bank-Altavista
John Wynne                                      PO Box 29
1588 Holcomb Rock Road                          Altavista, VA 24519
Lynchburg, VA 24503
                                                Focused Recovery Solutions
Lynchburg Circuit Court                         9701 Metropolitan Court
P.O. Box 4                                      Richmond, VA 23236
Lynchburg, VA 24505
                                                Legacy Vacation Club
Robert Armstrong                                PO Box 29352
3 McDowell Street                               Phoenix, AZ 85038
Lexington, VA 24450
                                                Medical Data Systems
Sharon Rose                                     2001 9th Ave., Suite 312
606 Culroath Drive                              Vero Beach, FL 32960
South Boston, VA 24592
                                                Peaks View Animal Hospital
Vickie Wiese, Esq.                              802 Wiggington Rd
Wiese Law Firm                                  Lynchburg, VA 24502
1502 Franklin Road, S.W. #20
Roanoke, VA 24016                               Penn Credit
                                                PO Box 988
AEP                                             Harrisburg, PA 17108
1 Riverside Plaza
Columbus, OH 43215
                                           8 
 
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The Time Share Co.                             US Dept. of Education
PO Box 190                                     PO Box 4169
Waunakee, WI 53597                             Greenville, TX 75403

                                               Verizon Wireless
                                               PO Box 3397
                                               Bloomington, IL 61702




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                                               UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                                     LYNCHBURG DIVISION


  In re: KAREN M FOSTER                                                                         CASE NO. 12-60619

                             Debtor(s)                                                          CHAPTER 11

                                                    DEBTOR-IN-POSSESSION ORDER

            Pursuant to debtor's petition filed under Chapter 11, it is

                                                                 O R D E R E D:

   That pending further order of this Court, debtor shall operate its business as debtor in possession with powers, rights and duties of a
trustee under 11 U.S.C. Section 1107, conditioned as follows:

   l. Debtor shall not pay any pre-petition debt;
                                                may employ, discharge and fix salaries of all em ployees; but officers' and directors' salaries
shall be reported by the debtor in possession in writing within ten (10) days of entry of this order to the office of the U.S. Trustee and to
the creditors' com mittee designated in this case and absent any written objection and request for he aring by the U. S. Trustee or the
creditors' committee within fourteen (14) days after the conveningof the Section 34l meeting of creditors, said salaries shallbe fixed; shall
not, without, court approval, use "cash collateral" as defined in11 U.S.C. Section 363 (a) unless the secured party consents; shall not sell
property of the estate other than in the ordinary course ofbusiness except with court approval; may obtain unsecured credit inthe ordinary
course of business; may not obtain secured, priority or senior lien credit without court approval under 11 U.S.C. Section 364; and shall
maintain adequate insurance on the property of the estate and make timely payment of any and all premiums thereon.

    2. Debtor shall close its current books and open new books of account showing all earnings, expenses, receipts and disbur sements
commencing with the date of the petition; shall segregate on itsbooks all taxes collected or withheld whether federal, state,or local; shall
close all bank accounts currently maintained and open two new bank accounts, a Debtor in Possession "Operating Account" and a Debtor
in Possession "Tax Account". Debtor shall deposit in the tax account all funds required to be escrowed under state or federal law, to be
disbursed only for the purpose for which they are set aside. All federal payroll taxes (e.g. FICA, FUCA) shall be deposited each time a
payroll is made; and Debtor shall notify: Chief, Technical Section, Internal Revenue Service,P. O. Box 10025, Richmond, Virginia 23240
of the date, place, amount of each deposit and whether it is the entire amount due and promptly prepare and file all tax returns required
by law. Debtor shall follow all guidelines, regulations and directives of the Office of the United States Trustee pertaining to Chapter 11
cases including, but not limited to, payment of the required quarterly fees.

   3. Failure by debtor to comply with the terms, conditions and provisions of this order may require debtor to appear before this court
for a hearing relative to the further administration of debtor's case, or for debtor to show cause why a trustee should not be appointed, or
the debtor's case should not be converted to Chapter 7 or dismissed; and it is

                                                            FURTHER ORDERED:

  That within fourteen (14) days after the entry of thisorder, counsel shall filewith this court a report disclosing counsel's fee arrangement
with debtor, the amount of the retainer received, if any, the disposition of the same, and comply with the provisions of 11 U.S.C. Section
327, et seq. and Bankruptcy Rule 2014. Failure of counsel to comply with the foregoing may result in disallowance of attorney's fees.
Upon review by this court ofcounsel's filings and barring any written objection to counsel's employment and a request for hearing thereon,
counsel of record shall continue, until further order of court, as counsel for the debtor in possession.

   Service of a copy of this order shall be made by mail to debtor, counsel for debtor, and the United States Trustee.

DATED: 3/16/12


                                                           _________________________________________________________
                                                                     WILLIAM E. ANDERSON, JUDGE
odipa.frm


                                                                                              US Trustee Exhibit 1
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                         UNITED STATES DEPARTMENT OF JUSTICE                     Form 10
                           OFFICE OF UNITED STATES TRUSTEE                       Rev. 01/08
                                 First Campbell Square Building
                                     210 First St., Suite 505
                                   Roanoke, VA 24011-1620
                             Tel. 540-857-2806 Fax 540-857-2844


To:        Chapter 11 Debtors, Counsel, and Appointed Chapter 11 Trustees

From:      John Robert Byrnes
           Assistant U.S. Trustee

Subject: Chapter 11 Debtor Instructions and Requirements

INITIAL DEBTOR CONFERENCE:

     The U.S. Trustee is required by law to monitor the financial performance of Chapter 11
debtors and to insure that debtors otherwise comply with applicable provisions of the
Bankruptcy Code. This is done primarily through ongoing financial review of the debtors
business activities with particular emphasis on whether the debtor is remaining current with
its post petition (after filing) obligations and whether the reorganization of the debtor’s
business is feasible. In order to facilitate the debtor’s compliance with its reporting
obligations, all Chapter 11 debtors are required to meet with the Office of the U.S. Trustee
at the commencement of their case to discuss the operation of the business and the
ongoing reporting requirements. Failure to attend the conference or to provide the required
documentation in a timely manner will result in an immediate motion to dismiss the case.

    It is the responsibility of counsel for the debtor to provide the debtor with this Guideline
Package and all forms.

At the conclusion of the conference, the debtor will be required to sign a certification
that the instructional package has been received and reviewed and that all
guidelines, general requirements and reporting requirements are understood.

     The CEO and the financial officer of the Debtor are required to personally attend the
conference at our offices located at First Campbell Square Building, 210 First Street, Suite
120, Roanoke, Virginia. The Debtor’s counsel must personally attend the conference,
however, if counsel is located outside of the Roanoke area, such personal appearance may
be waived by the U.S. Trustee, in which event counsel must participate by phone on the
date and time scheduled by calling our office. The U.S. Trustee will not proceed with the
meeting without the participation of counsel.

Materials the Debtor must provide not less than 36 hours before the conference:

      1.   Copies of bank statements for all pre-petition bank accounts for the preceding one
           (1) year;

      2.   Copies of tax returns for the preceding three (3) years or copies of filed requests
           for extension;
                                                                       US Trustee Exhibit 2
                                                                       8/9/12
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   3.   Financial Statements

   The books and records of the debtor must be closed out as of the date of filing of the
   petition and a new set of books and records should be opened thereafter for the
   Debtor-in-Possession. Copies of all general financial reports for the period of one year
   preceding the bankruptcy must be provided by the debtor at the conference. Back up
   documentation such as ledgers and cancelled checks is not required unless
   specifically requested by the U.S. Trustee. In the event that reproduction of any of the
   referenced materials is voluminous, the U.S. Trustee should be contacted prior to the
   conference.

   4.   Bank Accounts

   The Debtor in Possession Order requires that new post petition bank accounts be
   opened. The debtor must furnish the Court and the Office of the United States Trustee
   with evidence that all existing accounts have been closed and that it has opened new
   accounts. The debtor must establish a separate general operating account for the
   purpose of paying bills incurred during the administration of the case, a separate tax
   trust account into which escrow funds are to be deposited for the payment of post
   petition taxes, and if necessary, a payroll account.

   The U.S. Trustee must be notified if Debtor in Possession accounts are moved to
   another depository.

   The Bankruptcy Code requires that all accounts must be in an account authorized by
   the U.S. Trustee, regardless of where they were pre-petition. See the attachment for a
   list of authorized depositories.

   On the face of the checks for each new account, the words "Debtor-in-Possession"
   and the bankruptcy case number must appear. The debtor must submit a copy or
   sample blank check marked "VOID" for each new account that shows compliance with
   this requirement. (The abbreviation “DIP” is not acceptable.)

   Our office cannot waive this requirement. Appropriate pleadings must be filed with the
   Court to waive this requirement.

   You should ensure that the account is set up on a calendar month, that is, the first day
   of the month through the last day of the month.

   5.   Proof of Insurance

   The debtor must file with the United States Trustee's Office evidence that the debtor is
   insured by workers' compensation, liability, auto, fire and theft and any other insurance
   customarily maintained in the business in which the debtor is engaged. The fair
   market value of the estate's property must be insured against loss. Said evidence will
   consist of a copy of the insurance binder or certificate of insurance. It must show the
   type and amount of insurance, the property insured, effective date and policy period,
   and that the debtor is an insured party. The debtor must instruct insurance companies
   and agents to provide the United States Trustee with prior notification regarding any
   change, cancellation or expiration of a debtor's insurance policy. The Office of the
   United States Trustee must be added as Certificate Holder.
                                                                          US Trustee Exhibit 2
                                                                          8/9/12
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        In the event of termination or lapse of insurance, the debtor must immediately report
        the termination to the United States Trustee and immediately obtain replacement
        coverage.

        Failure to provide correct and adequate proof of full insurance coverage will result in a
        Motion to Dismiss the case.

        6.   Employee Information

        The debtor must provide the Office of United States Trustee a statement detailing the
        number of employees, total amount of the gross payroll per month, salary of officers,
        director and principals of the debtor, and a statement that the post-petition payroll is
        current, or if not current, the reason.

        7. Cash flow Projection

        The debtor must provide a six-month cash flow projection beginning with the first full
        month after filing and containing projected receipts, disbursements and cash balance
        for each month. For individuals, the Schedule of Current Income and Expenses
        (bankruptcy schedules I and J) will suffice unless it differs materially from month to
        month.


I.      GENERAL REQUIREMENTS FOR ALL CHAPTER 11 DEBTORS

        A.   Compliance with the law -- the debtor must comply with the Bankruptcy Code, the
             Bankruptcy Rules, Local Rules and any court order.

        B.   Debts -- the debtor must pay all post-petition debts on a current basis.

        C. The debtor must serve the United States Trustee with a copy of any motion,
           application, request or adversary proceeding filed by the debtor with the
           Bankruptcy Court.

        D. It is the debtor's responsibility to notify the United States Trustee and the
           Bankruptcy Court in writing of any change of address or telephone number within
           ten (10) days after the change occurs.

        E.   Employment and compensation of all Professionals (including attorneys,
             accountants, appraisers, auctioneers, real estate agents and other professionals)
             must have prior approval of the Court. No professional fees can be paid until the
             Court has approved the requested compensation by written Court Order.


II.     MONTHLY REPORTING INSTRUCTIONS

      The Office of the U. S. Trustee is unable to assist Chapter 11 debtors in the
preparation of the Chapter 11 monthly reports other than to provide general instructions at
the Initial Debtor Conference or to answer occasional general questions that may arise. We
cannot provide specific advice in the preparation of these reports. If the debtor is unable to
                                                                     US Trustee Exhibit 2
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fully and completely prepare the monthly reports, the debtor must contact counsel or other
competent professionals for assistance.

     A hard copy of the monthly operating report is required to be filed with the Office of the
United States Trustee, electronically with the Clerk's Office of the United States
Bankruptcy Court, and the Chair of any creditors' committee appointed to serve in the case,
by the 15th day of each succeeding month and are to cover the preceding calendar month.

      The contents of the monthly report depends upon the debtor's business status and
accounting basis, whether cash or accrual. At the initial debtor conference a determination
will be made by the U.S. Trustee regarding the form of the monthly operating report. No
exception to the reporting requirements shall be made except in writing signed by
the U.S. Trustee. In any event, copies of all bank statements are to be attached to each
monthly report.

      The debtor is responsible for reporting to our office the accrual of professional
compensation and expenses every month. If you don’t receive a bill each month from your
professionals, you must contact them to get this amount so that it can be reported in the
monthly report. Professionals are required to keep track of the time spent in your case, so
this should not present a problem. Both the Large Business Debtor Monthly Report (accrual
form series 9) and the Small Business Debtor Report have exhibits that deal with this. See
page 3 of the Small Business Debtor Report and Exhibit 9-AB-6 for the Large Business
Debtor Report. We use this information to ensure that sufficient funds are generated to
cover administrative and operating expenses, as well as determining sufficient funds exist to
fund your plan.

     Upon written authorization from our office, computer or otherwise prepared Balance
Sheets, Income Statements, Disbursements Ledgers, and Cash Reconciliation Reports may
be substituted. In the event that use of the debtor’s in house balance sheet has been
authorized, post-petition liabilities and earnings (losses) must be broken out separately.

     The debtor must provide a schedule of all post-petition obligations. Post petition debts
must be paid on a current basis.

      Trust fund withholdings are those monies which the employer (debtor) does not own,
but, you as a fiduciary must withhold, collect and deposit for the benefit of the Internal
Revenue Service or State Taxing Authority. They include employees' federal income taxes,
employees' portion of FICA, sales taxes, etc. It is not permissible to take any amounts from
those funds to be used as a source of ready cash. Trust fund and withholding taxes must be
paid or deposited on the same day as paying any portion of compensation to the employee.
Evidence of payment or deposit of these taxes must be provided with each monthly
operating report. The tax liability must be paid by the end of each month. Such evidence
must be a receipted copy of IRS Form 6123 (enclosed), or a bank receipted copy of the
invoice coupon and check. The evidence of deposit must show the gross salaries,
deductions, net pay, amount of deposit, and pay period.

     Additional reports may be required in supervising the administration of the estate.

     All disbursements must be made by check and disbursements by cash (currency) are
prohibited. The payee name must appear on the face of the check. The check cannot be
made payable to cash.                                     US Trustee Exhibit 2
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    Failure to comply with United States Trustee requirements or failure to file timely and
complete reports may result in a motion for conversion or dismissal of the bankruptcy case.


III.       FIRST MEETING OF CREDITORS

     The Chief Executive Officer and the person(s) who signed the schedules, and
the other employees generally responsible the debtor’s financial affairs are all
required to personally appear at the scheduled Section 341 meeting of creditors.


IV.       U.S. TRUSTEE QUARTERLY FEE

       Section 1930(a)(6) of Title 28 of the United States Code requires that all debtors in
Chapter 11 Bankruptcy proceedings pay a quarterly fee for each quarter or fraction thereof
until the case is closed by court order 1 , or otherwise dismissed or converted to another
chapter. Pursuant to Section 213 of Title II, Division B, Consolidated Appropriations Act,
2008, (P.L. 110-161), the chapter 11 quarterly fee schedule established by 28 U.S.C.
§1930(a)(6) is amended effective January 1, 2008. The following chart displays the
revised quarterly fee schedule for calendar quarters beginning January 1, 2008.

     The amount of the fee varies depending upon the amount of money disbursed by or
on behalf of the debtor during the calendar quarter. A minimum fee of $325.00 is due each
quarter even if no disbursements are made. The fee schedule is as follows:

          Total Quarterly Disbursement                                             Quarterly Fee

             $0 to $14,999.99                                                         $325
             $15,000 to $74,999.99                                                    $650
             $75,000 to $149,999.99                                                   $975
             $150,000 to $224,999.99                                                $1,625
             $225,000 to $299,999.99                                                $1,950
             $300,000 to $999,999.99                                                $4,875
             $1,000,000 to $1,999,999.99                                            $6,500
             $2,000,000 to $2,999,999.99                                            $9,750
                                                                                                                                 US Trustee Exhibit 2
             $3,000,000 to $4,999,999.99                                           $10,400
                                                                                                                                 8/9/12
             $5,000,000 to $14,999,999.99                                          $13,000
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             1/

                                                                                      NOTICE

             DISCLOSURE OF INTENT TO USE TAXPAYER IDENTIFYING NUMBER FOR THE PURPOSE OF COLLECTING AND REPORTING 1. 1.
             DELINQUENT QUARTERLY FEES OWED TO THE UNITED STATES TRUSTEE PURSUANT TO 28 U.S.C. §1930(a)(6).
Please be advised that, pursuant to the Debt Collection Improvements Act of 1996, Public Law 104-134, Title III, § 31001(i)(3)(A), 110 Stat. 1321-365, codified at 31 U.S.C. §
3701, the United States Trustee intends to use the debtor’s Taxpayer Identifying Number (“TIN”) as reported by the debtor or debtor’s counsel in connection with the chapter 11
bankruptcy proceedings for the purpose of collecting and reporting any delinquent debt, including chapter 11 quarterly fees, that are owed to the United States Trustee.

               The United States Trustee will provide the debtor’s TIN to the Department of Treasury for its use in attempting to collect overdue debts. Treasury may take the
following steps: (1) submit the debt to the Internal Revenue Service Offset Program so that the amount owed may be deducted from any payment made by the federal
government to the debtor, including but not limited to tax refunds; (2) report the delinquency to credit reporting agencies; (3) send collection notices to the debtor; (4) engage
private collection agencies to collect the debt; and (5) engage the United States Attorney’s office to sue for collection. Collection costs will be added to the total amount of the
debt. If the United States is unable to collect the full amount of any debt owed on a debtor’s quarterly fee obligation, an I.R.S. Form 1099-C (Cancellation of Debt) will be filed
with the Interal Revenue Service as required by law.




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       $15,000,000 to $29,999,999.99        $20,000
       $30,000,000 or more                  $30,000

     The fee is due on the last day of the month following the calendar quarter. If the fee is
not received in the payment center by that date, a motion to convert the case to a
liquidating case under chapter 7, or to dismiss the case, may be filed.

      A preprinted filing report will be mailed to the debtor from the U.S. Trustee Charlotte
Office by the 15th of the month following the quarter end. This form is to accompany
payment for each quarter. If payment is made for multiple quarters by one check, prepare
and mail the Report for each quarter along with your check. If you fail to receive the
preprinted report in the mail, you are still responsible for paying the fee. Report forms can
be obtained from the United States Trustee's office.

     A Plan of Reorganization must provide for payment of all unpaid quarterly fees as of
the effective date of the Plan or it cannot be confirmed by the Court. In addition, all unpaid
quarterly fees must be paid prior to entry of any order dismissing a case. Failure to pay the
quarterly fee is cause for conversion or dismissal of the case.

       The mailing address for quarterly fee payments is:

       U.S. Trustee Payment Center
       P.O. Box 530202
       Atlanta, GA 30353-0202

V    TAX RETURNS

     The debtor must file on time all required tax returns, including but not limited to
income, withholding and sales tax.

VI   U.S. TRUSTEE CONTACT PERSON

The monthly reports and any general questions relating to them should be addressed to:

     Margaret K. Garber
     210 First Street, Suite 505
     Roanoke, VA 24011
     Telephone number: 540-857-2806
     E-mail address: Margaret.K.Garber@USDOJ.gov


Legal questions must be addressed to your attorney.



                                                    W. CLARKSON McDOW, JR.,
                                                    United States Trustee for Region 4


                                                                        US Trustee Exhibit 2
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